         Case 1:21-cv-00837-SAG Document 69 Filed 04/01/22 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Northern Division

FAYE COTTMAN, et al.             *
                                 *
        Plaintiff,               *
                                 *    Civil Action No.: SAG-21-00837
          v.                     *
                                 *
BALTIMORE POLICE DEPARTMENT, *
et al.,                          *
                                 *
        Defendants.              *
*       *       *   *   *   *    *    *      *      *      *     *   *
     BALTIMORE POLICE DEPARTMENT AND OFFICER DEFENDANTS’ JOINT
          MOTION TO BIFURCATE MONELL CLAIM AND STAY DISCOVERY

       Defendants, the Baltimore Police Department (“BPD”) and Lieutenant Scott Dressler and

Officers Jeffrey Converse, Destinee Macklin, and Annmarie DiPasquale (“Officer Defendants”),

by and through their undersigned counsels and pursuant to Federal Rules of Civil Procedure 42(b)

and 26(d) move this Court to bifurcate the trial of Plaintiffs’ claims against the Officer Defendants

from the Monell claim against BPD, and to stay discovery related to the Monell claim against BPD,

pending resolution of Plaintiffs’ claims against the Officer Defendants. A memorandum of law is

attached in support of this motion and is incorporated herein.

       WHEREFORE, BPD and Officer Defendants, jointly, respectfully request that this Court

issue an Order: (1) bifurcating the proceedings in the above-captioned action; (2) staying discovery

as to Plaintiffs’ claim against BPD pending the outcome of the proceedings between Plaintiffs and

the Officer Defendants; and (3) any other relief the Court deems just and proper.

                                              Respectfully submitted,


                                              James L. Shea
                                              BALTIMORE CITY SOLICITOR

                                                      /s/
         Case 1:21-cv-00837-SAG Document 69 Filed 04/01/22 Page 2 of 2



                                             Elisabeth S. Walden (28684)
                                             Chief, Police Legal Affairs
                                             Kara K. Lynch (29351)
                                             Chief Solicitor

                                             Baltimore City Department of Law
                                             Office of Legal Affairs
                                             City Hall, Room 101
                                             100 N. Holliday Street
                                             Baltimore, MD 21202
                                             410-396-2496 (telephone)
                                             410-396-2126 (facsimile)
                                             kara.lynch@baltimorepolice.org
                                             Attorneys for Defendant Baltimore Police
                                             Department

                                             /s/_____________________________________
                                             Christopher C. Jeffries (Federal Bar No. 28587)
                                             (signed by Kara Lynch with permission of
                                             Christopher Jeffries)
                                             Louis P. Malick (Federal Bar No. 11166)
                                             Kramon & Graham, P.A.
                                             One South Street, Suite 2600
                                             Baltimore, Maryland 21202
                                             Tel: (410) 752-6030
                                             Fax: (410) 539-1269
                                             cjeffries@kg-law.com
                                             lmalick@kg-law.com
                                             Attorneys for Officer Defendants



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 1st of April 2022, copies of the foregoing Joint Motion

to Bifurcate and Stay Discovery, Memorandum of Law in Support, and proposed Order were filed

with the United States District Court for the District of Maryland and forwarded to all counsel of

record via CM/ECF.

                                                     /s/
                                                    Kara K. Lynch (29351)
